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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

        Plaintiff,                                        Case No. 3:21-cr-104

vs.

WILLIAM EARNEST,                                          District Judge Michael J. Newman
                                                          Magistrate Judge Peter B. Silvain, Jr.

        Defendant.


  ORDER ADOPTING THE REPORT AND RECOMMENDATION OF THE UNITED
              STATES MAGISTRATE JUDGE (DOC. NO. 24)


        This criminal case is before the Court on the Report and Recommendation of the United

States Magistrate Judge, recommending that the Court accept Defendant’s guilty plea. Doc. No.

24. There being no objections, the Court ADOPTS the Report and Recommendation in full. The

Court accepts Defendant’s plea of guilty as charged in Count One of the Superseding Information,

which charges him with possession with intent to distribute 40 grams or more of fentanyl, 21

U.S.C. §§ 841(a)(1) and (b)(1)(B). Doc. No. 20. The Court will defer the decision of whether to

accept the plea agreement until the sentencing hearing.

        IT IS SO ORDERED.

Date:    November 15, 2021                          s/ Michael J. Newman
                                                    Hon. Michael J. Newman
                                                    United States District Judge
